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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

Margaret Hussein,
On behalf of plaintiff and the class members         Case No.:
described below,
                                                     Honorable
       Plaintiff,

               v.

Dynamic Recovery Solutions, LLC and                  Magistrate Judge:
Cavalry SPV I, LLC;
                                                     JURY DEMANDED
       Defendants.

                              CLASS ACTION COMPLAINT

                                   NATURE OF THE ACTION

  1. Defendants having been sending collection letters into Illinois using language the

      Seventh Circuit has held is false and misleading.

  2. In an effort to avoid burdening this Court Plaintiff attempted to resolve this matter

      through principled negotiation before filing suit. Defendants failed to respond.

  3. In previous cases, Courts have certified class actions against both Defendants herein. See,

      e.g., Rodriguez v. Dynamic Recovery Solutions, No. 14-CIV-24502, 2015 U.S. Dist.

      LEXIS 22612 (S.D. Fla. Feb. 23, 2015) (class of 180,700 certified pursuant to

      settlement); Wise v. Cavalry Portfolio Servs., LLC, No. 3:09-cv-86, 2010 U.S. Dist.

      LEXIS 96038 (D. Conn. Sept. 15, 2010); Jancik v. Cavalry Portfolio Servs., No. 06-

      3104, LLC, 2007 U.S. Dist. LEXIS 49500 (D. Minn. July 3, 2007).

  4. Plaintiff Margaret Hussein, individually and on behalf of all others similarly situated,

      brings this action under the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq.

      (“FDCPA”), because, among other things, Defendants sent them letters to collect time-



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   barred debts that not only failed to make clear that the law prevented Defendants from

   filing suit against Plaintiff and the class members, but such letter also failed to advise that

   making any payment would restart the statute of limitations on the collection of that debt.

   The Seventh Circuit has found similar language to violate the FDCPA, Pantoja v.

   Portfolio Recovery Associates, LLC, 852 F.3d 679 (7th Cir. 2017) and at least one court

   in the Northern District of Illinois has found that the specific language alleged to be used

   here violates the FDCPA. See Pierre v. Midland Credit Management, No. 16-2895, 2018

   U.S. Dist. LEXIS 18860 (N.D. Ill. Feb. 5, 2018).

5. The FDCPA broadly prohibits unfair or unconscionable collection methods, conduct

   which harasses or abuses any debtor, and the use of any false, deceptive or misleading

   statements in connection with the collection of a debt. It also requires debt collectors to

   give debtors certain information. 15 U.S.C. §§ 1692d, 1692e, 1692f and 1692g.

6. In enacting the FDCPA, Congress found that: “[t]here is abundant evidence of the use of

   abusive, deceptive, and unfair debt collection practices by many debt collectors. Abusive

   debt collection practices contribute to the number of personal bankruptcies, to marital

   instability, to the loss of jobs, and to invasions of individual privacy.” 15 U.S.C.

   §1692(a).

7. Because of this, courts have held that “the FDCPA’s legislative intent emphasizes the

   need to construe the statute broadly, so that we may protect consumers against debt

   collectors’ harassing conduct,” and that “[t]his intent cannot be underestimated.”

   Ramirez v. Apex Financial Management LLC, 567 F. Supp. 2d 1035, 1042 (N.D. Ill.

   2008).




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8. The FDCPA encourages consumers to act as “private attorneys general” to enforce the

   public policies and protect the civil rights expressed therein. Crabill v. Trans Union,

   LLC, 259 F.3d 662, 666 (7th Cir. 2001).

9. Plaintiff seeks to enforce those policies and civil rights which are expressed through the

   FDCPA, 15 U.S.C. §1692 et seq.

                                 VENUE AND JURISDICTION

10. This Court has jurisdiction under 15 U.S.C. §1692k (FDCPA), and 28 U.S.C. §§1331 and

   1337.

11. Venue and personal jurisdiction in this District are proper because:

       a. Defendants’ collection communications and activities impacted plaintiff within

           this District; and

       b. Defendants do business within this District.

                                          PARTIES

12. Plaintiff Margaret Hussein is a citizen residing in the Northern District of Illinois.

13. Plaintiff is a “consumer,” as that term is defined by § 1692a(3) of the FDCPA, in that the

   alleged debt Defendants sought to collect from her is a consumer debt, incurred for

   personal purposes and allegedly originally owed to Bank of American.

14. Defendant Dynamic is a limited liability company organized under South Carolina law

   with principal offices at 135 Interstate Boulevard, Suite 6, Greenville, South Carolina

   29615. Defendant Dynamic conducts business in Illinois.

15. Dynamic has a web site (http://www.gotodrs.com/), where it describes its business as

   follows: “With more than 50 combined years in the accounts receivables industry, our

   managing partners founded Dynamic in 2008. We are professionally staffed to provide

   nationwide consumer and commercial collection services to organizations including


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   Banking, Student Loans, Heath Care, Retail, Telecommunications, Utilities, Legal, and

   Real Estate. Our strong track record in the late stage market, continued investment into

   the latest Technology and Analytics, and our commitment to quality, has positioned DRS

   as leader in receivables management outsource solutions.”

16. Dynamic is regularly engaged, or profit, in the collection of debts allegedly owed by

   consumers. Dynamic is therefore a “debt collector” as that term is defined by § 1692a(6)

   of the FDCPA.

17. Defendant Cavalry is a Delaware limited liability company that acts as a debt collector,

   as defined by § 1692a(6) of the FDCPA, because it regularly uses the mails and/or the

   telephone to collect, or attempt to collect, directly or indirectly, delinquent consumer

   debts.

18. Defendant Cavalry operates a nationwide delinquent debt collection business and

   attempts to collect debts from consumers in virtually every state, including consumers in

   the State of Illinois. In fact, Defendant Cavalry was acting as a debt collector, as that term

   is defined in the FDCPA, as to the delinquent consumer debt it attempted to collect from

   Plaintiff.

19. Defendant Cavalry is authorized to conduct business in the State of Illinois and maintains

   a registered agent within the State of Illinois. See Exhibit A, Record from the Illinois

   Secretary of State. In fact, Defendant Cavalry conducts extensive and substantial

   business in Illinois.

20. Defendant Cavalry is licensed as a debt collection agency in the State of Illinois. See

   Exhibit B, Record from the Illinois Division of Professional Regulation. In fact,

   Defendant Cavalry acts as a collection agency in Illinois.




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21. Defendant Cavalry is a bad-debt buyer that buys large portfolios of defaulted consumer

   debts for pennies on the dollar, which it then collects upon, at times through other

   collection agencies.

                                           FACTS

22. Defendants have been attempting to collect from Plaintiff an alleged credit card debt that

   was incurred, if at all, for personal, family or household purposes.

23. On or about June 28, 2017, Defendant Dynamic, acting on behalf of Defendant Cavalry,

   sent Plaintiff the letter attached as Exhibit C.

24. The debt was beyond the statute of limitations.

25. Exhibit C states, “The law limits how long you can be sued on a debt. Because of the

   age of your debt, our client will not sue you for it.”

26. Exhibit C does not disclose that making a payment as requested may restart the statute of

   limitations.

                                    COUNT I – FDCPA

27. Plaintiff incorporates paragraphs 1-26.

28. Exhibit C violates 15 U.S.C. §§ 1692e, 1692e(2) and 1692e(10). Pantoja v. Portfolio

   Recovery Associates, LLC, 852 F.3d 679 (7th Cir. 2017).

29. Section § 1692e provides:

   § 1692e. False or misleading representations. A debt collector may not use any
   false, deceptive, or misleading representation or means in connection with the
   collection of any debt. Without limiting the general application of the
   foregoing, the following conduct is a violation of this section: . . . (2)The false
   representation of-- (A) the character, amount, or legal status of any debt; . . .

   (10) The use of any false representation or deceptive means to collect or
   attempt to collect any debt or to obtain information concerning a consumer[.]




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                                   CLASS ALLEGATIONS

30. Plaintiff brings this claim on behalf of two classes, pursuant to Fed. R. Civ. P. 23(a) and

   23(b)(3).

31. The Cavalry class consists of (a) all individuals with Illinois addresses, (b) to whom a

   letter was sent on behalf of Cavalry to collect a debt, (c) which debt was a credit card on

   which the last payment had been made more than 5 years prior to the letter, (d) which

   stated that “[t]he law limits how long you can be sued on a debt. Because of the age of

   your debt, our client will not sue you for it,” (e) which did not state that any payment may

   restart the statute of limitations, and (f) which letter was sent on or after a date one year

   prior to the filing of this action and on or before a date 21 days after the filing of this

   action.

32. The Dynamic class consists of (a) all individuals with Illinois addresses, (b) to whom

   Dynamic Recovery Solutions, LLC sent a letter to collect a debt, (c) which debt was a

   credit card on which the last payment had been made more than 5 years prior to the letter,

   (d) which stated that “[t]he law limits how long you can be sued on a debt. Because of the

   age of your debt, our client will not sue you for it,” (e) which did not state that any

   payment may restart the statute of limitations, and (f) which letter was sent on or after a

   date one year prior to the filing of this action and on or before a date 21 days after the

   filing of this action.

33. On information and belief, based on the use of form letter and the fact that debts are

   normally purchased, sold and placed in portfolios of debts of like nature and vintage,

   each class is so numerous that joinder of all members is not practicable.




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   34. There are questions of law and fact common to the class members, which common

       questions predominate over any questions relating to individual class members. The

       predominant common question is whether Defendants’ letters were misleading.

   35. Plaintiff’s claim is typical of the claims of the class members. All are based on the same

       factual and legal theories.

   36. Plaintiff will fairly and adequately represent the class members. Plaintiff has retained

       counsel experienced in class actions and FDCPA litigation.

   37. A class action is superior for the fair and efficient adjudication of this matter, in that:

              a. Individual actions are not economically feasible;

              b. Members of the classes are likely to be unaware of their rights;

              c. Congress intended class actions to be the principal enforcement mechanism under

                 the FDCPA.

   WHEREFORE, the Court should enter judgment in favor of plaintiff and the class members

   and against defendants for:

       i.        Statutory damages;

       ii.       Any actual damages incurred by class members, including all amounts paid on

                 time-barred debts;

       iii.      Attorney’s fees, litigation expenses and costs of suit;

       iv.       Such other and further relief as the Court deems proper.

                                            JURY DEMAND

Plaintiff, Margaret Hussein, demands trial by jury.

                                                    Respectfully submitted,

                                                    By:        /s/ Roger Zamparo Jr.
                                                               One of Plaintiffs’ Attorneys



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                         DOCUMENT PRESERVATION DEMAND

Plaintiff hereby demands that defendant take affirmative steps to preserve all recordings, data,
documents, and all other tangible things that relate to Plaintiff, the events described herein, any
third party associated with any telephone call, campaign, account, sale or file associated with
Plaintiff, and any account or number or symbol relating to them. These materials are likely very
relevant to the litigation of this claim. If defendant is aware of any third party that has
possession, custody, or control of any such materials, Plaintiff demands that defendants request
that such third party also take steps to preserve the materials. This demand shall not narrow the
scope of any independent document preservation duties of the defendants.


                           NOTICE OF LIEN AND ASSIGNMENT

Please be advised that we claim a lien upon any recovery herein for any attorney’s fees
authorized by the above fee-shifting statutes or awarded by the Court. All rights relating to
attorneys’ fees have been assigned to counsel.




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